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                   IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF PENNSYLVANIA


Yibo Xu and Xingxiao Jiang, Individually :
and on behalf of all other employees     :
similarly situated,                      :         Case No. 2:21-cv-00550 (NIQA)
                                         :
                Plaintiffs,              :             SECOND SUPPLEMENTAL
        v.                               :              STIPULATION TO THE
Yumco LLC dba R&G Ping Pong, Ranko :                  SETTLEMENT AGREEMENT
Inc. dba Andorra Ping Pong, Chaomin Ran :
aka Albert Ran, Xin Gu aka Diana Gu Ran, :
                                         :
                Defendants.              :
                                         :
                                         :

        In accordance with this Court’s directives in the January 3, 2022 Order (ECF Dkt.

 No. 18), granting in part, and denying in part, the parties’ joint motion for approval of

 settlement agreement (the “Settlement Agreement”) (ECF Dkt. No. 16) and in the March

 16, 2022 Order (ECF Dkt. No. 20), disapproving the Supplemental Stipulation to the

 Settlement Agreement (ECF Dkt. No. 19), requesting that the parties craft a more narrowly

 tailored release provision to be filed for the Court’s final review by April 15, 2022, the

 parties hereby submit this Second Supplemental Stipulation to the Settlement Agreement

 (the “Stipulation”) for Court approval.

        IT IS HEREBY STIPULATED AND AGREED, by and between the

 undersigned counsel for the respective parties hereto that: (i) the mutual general release in

 Section 8 (Release of Claims and Covenant Not to Sue) of the Settlement Agreement (ECF

 Dkt. No. 16) is stricken from the Settlement Agreement; and (ii) Section 8 is amended to

 provide only as follows:

        8.      Release of Claims and Covenant Not to Sue.


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               Specific Release.      Plaintiffs waive, release, and forever discharge

Defendants, and each of their past, present, or future parents, affiliates, subsidiaries, and

divisions, and each of their respective past, present, or future predecessors, successors,

assigns, managers, directors, officers, partners, associates, shareholders, agents, insurers,

reinsurers, employees, attorneys, spouses, or representatives, including Chaomin Ran

(also known as Albert Ran) and Xin Gu (also known as Diana Gu Ran) (the “Released

Parties”), from any and all actual or potential claims, demands, actions, causes of action,

or liabilities that were raised or could have been raised in the Lawsuit or that may arise by

reason of any wage-and-hour matter occurring prior to the effective date of this

Agreement under the Fair Labor Standards Act (FLSA), Pennsylvania Minimum Wage

Act (PMWA), or any common-law claims for recovery of unpaid wages, including,

without limitation, claims for failure to pay wages, back wages, overtime, minimum

wages, gratuities, interest, liquidated damages, penalties, and attorneys’ fees and costs

that may be raised in this Lawsuit.

               Nothing in this Agreement is intended to waive claims (a) for

unemployment or workers’ compensation benefits, (b) for vested rights under ERISA-

covered employee benefit plans as applicable on the date Plaintiffs sign this Agreement,

(c) that may arise after Plaintiffs sign this Agreement, or (d) which cannot be released by

private agreement. In addition, nothing in this Agreement, including but not limited to

the release of claims, proprietary information, confidentiality, cooperation, and non-

disparagement provisions, prevents Plaintiffs from filing a charge or complaint with or

from participating in an investigation or proceeding conducted by the Equal Employment

Opportunity Commission (“EEOC”), National Labor Relations Board, or any other any

federal, state, or local agency charged with the enforcement of any laws, or from
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exercising rights under Section 7 of the NLRA to engage in joint activity with other

employees, although by signing this release, Plaintiffs are waiving their rights to

individual relief based on claims asserted in such a charge or complaint, or asserted by

any third-party on Plaintiffs’ behalf, except where such a waiver of individual relief is

prohibited.

      IT IS FURTHER STIPULATED AND AGREED, by and between the

undersigned counsel for the respective parties hereto that, the remainder of the original

Settlement Agreement (ECF Dkt. No. 16) remains in full force and effect, as the Court

had already granted judicial approval of it on January 3, 2022. (ECF Dkt. Nos. 17-18).

      IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.

/s/ Jian Hang                                     /s/ Jonathan L. Shaw
Jian Hang (PA No. 319709)                         Jonathan L. Shaw (PA No. 316882)
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Dated: April 4, 2022                              Dated: April 4, 2022

                                                   SO ORDERED:




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